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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

J.B. HUNT TRANSPORT, INC.                                                               PLAINTIFF

vs.                                    Case No. 5:23-cv-05094-TLB

TTEC DIGITAL, LLC, Successor in Interest to
AVTEX SOLUTIONS, LLC; and TTEC
HOLDINGS, INC.                                                                       DEFENDANTS

             JOINT MOTION TO EXTEND EXPERT DISCOVERY DEADLINES

        NOW COME Plaintiff and Defendants, and jointly move the Court to enter an Order to

extend the deadlines to provide expert witness disclosures and written reports pursuant to Rule

26(a)(2) and to provide disclosures and reports of rebuttal experts, and in support of such motion

show:

        1.     Pursuant to the Case Management Order (Dkt. No. 19), the current deadline for the

close of all discovery is April 12, 2024.

        2.     The Case Management Order also provides for a February 9, 2024, deadline to

provide expert witness disclosures and written reports pursuant to Rule 26(a)(2) and a March 11,

2024, deadline to provide disclosures and reports of rebuttal experts.

        3.     The parties do not seek to extend the April 12, 2024, deadline for the close of all

discovery. Rather, the parties jointly seek to extend only the expert discovery deadlines by 20

days. If the Court grants this motion, the new deadline to provide expert witness disclosures and

written reports pursuant to Rule 26(a)(2) would be Thursday, February 29, 2024, and the new

deadline to provide disclosures and reports of rebuttal experts would be Monday, April 1, 2024.

        4.     The parties jointly seek this extension to allow for greater fact discovery to occur

before serving opening expert reports. Maintaining the current deadline risks incomplete expert
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 reports that may require significant supplementation once further discovery is adduced. The

 parties respectfully submit that the interests of developing a complete discovery record, as well

 as conservation of the parties’ and judicial resources, are served by moving the expert deadlines

 by 20 days.

         5.     Given the stage of the proceedings and given that no extension of the deadline for

 all discovery is being requested in this motion, the requested extensions of expert deadlines will

 not prejudice the parties or delay this matter, the trial date for which has been set for August

 2024.

         WHEREFORE, all parties jointly pray this Court to extend the deadline to provide expert

 witness disclosures and written reports pursuant to Rule 26(a)(2) until February 29, 2024, and to

 provide disclosures and reports of rebuttal experts until April 1, 2024, and for all other proper

 relief to which they may be entitled.

Respectfully submitted,

 J.B. HUNT TRANSPORT, INC.,                            TTEC DIGITAL, LLC; and TTEC HOLDINGS,
                                                       INC.


/s/ Jason H. Wales                                          /s/ Brandon B. Cate
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